 Case: 4:22-cv-00394-SPM Doc. #: 40 Filed: 12/14/22 Page: 1 of 4 PageID #: 281




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

CARRIE SAMUELS-ENG,                            )
                                               )
              Plaintiff,                       )
                                               )
       v.                                      )      Case No. 4:22-CV-00394-SPM
                                               )
GALLAGHER BASSETT SERVICES INC.,               )
                                               )
              Defendant.                       )

               CASE MANAGEMENT ORDER - TRACK 2 (STANDARD)

        Pursuant to the Rule 16 Conference held on December 14, 2022,

        IT IS HEREBY ORDERED that the parties are directed to familiarize themselves with

the Local Rules of this Court and the undersigned’s requirements, which can be found at

http://www.moed.uscourts.gov/judges-requirements.

        IT IS FURTHER ORDERED that the following schedule applies in this case, and will

be modified only upon a showing of exceptional circumstances:

        I.     SCHEDULING PLAN

        1.     This case has been assigned to Track 2.

        2.     The parties do not anticipate filing any motions for joinder of additional parties
               or amendment of pleadings; however, any motions to amend the pleadings must
               be filed no later than January 4, 2023.

        3.     The parties shall make all initial disclosures required by Fed.R.Civ.P. 26(a)(1)
               no later than December 23, 2022.

        4.     Whenever feasible, the parties will produce all electronically stored information
               in bates-stamped, pdf format, except for video or audio files, and .csv or excel
               files, which shall be produced in native format and searchable PDF format,
               unless otherwise agreed to by the parties.

        5.     No discovery request or disclosure requirement shall be interpreted to require
               production or disclosure of embedded data (i.e., metadata and information
Case: 4:22-cv-00394-SPM Doc. #: 40 Filed: 12/14/22 Page: 2 of 4 PageID #: 282




            describing the history, tracking or management of an electronically stored
            document), unless a specific request for such information is made.

      6.    The parties may modify by written agreement any of the foregoing parameters
            with regard to ESI and, by agreement, will work in good faith to attempt to
            reach a resolution regarding any modifications to the agreed-upon parameters.

      7.    The parties must comply with the requirements of Fed. R. Civ. P. 26(b)(5)(A) if
            they withhold information during discovery under an assertion of privilege or of
            protection as trial preparation material. Inadvertent disclosure of privileged
            information shall be governed by Fed. R. Civ. P. 26(b)(5)(B) and Fed. R. Evid.
            502. By agreement of the parties, the production of privileged or protected
            information and documents without the intent of waiving that privilege or
            protection will not constitute a waiver, so long as the disclosing party identifies
            the inadvertently disclosed documents within a reasonable time. If such
            documents are identified, they will be returned promptly to the disclosing party.

      8.    Plaintiff must disclose all expert witnesses and provide the reports required by
            Fed.R.Civ.P. 26(a)(2) no later than March 11, 2023 and must make expert
            witnesses available for depositions, and have depositions completed, no later
            than April 10, 2023.

      9.    Defendant must disclose all expert witnesses and provide the reports required by
            Fed.R.Civ.P. 26(a)(2) no later than May 11, 2023, and must make expert
            witnesses available for depositions, and have depositions completed, no later
            than June 12, 2023.

     10.    The presumptive limits of ten (10) depositions per side as set forth in
            Fed.R.Civ.P. 30(a)(2)(A) and twenty-five (25) interrogatories per party as set
            forth in Fed.R.Civ.P. 33(a) shall apply. For purposes of this limit, a deposition
            under Rule 30(b)(6) is deemed a single deposition even though more than one
            person may be designated to testify.

      11.   Requests for physical or mental examinations of parties pursuant to Fed. R.
            Civ. P. 35 must be made no later than May 11, 2023 and completed no later
            than June 12, 2023.

      12.   The parties must complete all discovery in this case no later than July 11, 2023.
            The Court will hold a Case Status Conference on June 23, 2023 at 10:00 a.m..

      13.   All discovery motions, including motions to compel, must be pursued in a
            diligent and timely manner. All discovery motions must be filed no later than ten
            days immediately after the response is made or is due, whichever is earlier. The
            Court will not consider motions to compel filed more than fourteen (14) days
            following the discovery deadline set out above. Pursuant to L.R. 37-3.04, no
            motion to compel will be considered unless the parties have first attempted to
 Case: 4:22-cv-00394-SPM Doc. #: 40 Filed: 12/14/22 Page: 3 of 4 PageID #: 283




               resolve the dispute without court intervention.

        14.    Before filing any discovery motion, the parties must first attempt to resolve their
               discovery dispute in compliance with the Court’s requirements and the Local
               Rules. If the parties are unable to reach an agreement without court intervention,
               they must file a joint memorandum requesting a conference. The memorandum
               must be filed jointly; must specify the parties’ previous attempts to resolve; must
               stipulate (in bullet points) the issues in dispute; and must not exceed three pages
               in length.

        15.    A party may seek relief by motion and need not request a conference if (a) that
               party is seeking discovery from a non-party; (b) the opposing party has failed to
               timely respond to discovery requests or (c) the opposing party has failed to make
               disclosures mandated by a court order.

        16.    This case shall be referred to alternative dispute resolution on June 1, 2023 and
               that reference shall terminate on August 1, 2023.

        17.    Any motion to exclude expert testimony pursuant to Daubert v. Merrell Dow
               Pharmaceuticals, Inc., 509 U.S. 579 (1993), or Kumho Tire Co., Ltd. v.
               Carmichael, 526 U.S. 137 (1999), shall be filed no later than August 11, 2023.

        18.    Any motions to dismiss, for summary judgment, or motions for judgment on the
               pleadings must be filed no later than August 11, 2023. Opposition briefs must
               be filed no later than twenty-eight (28) days after the motion is filed. Reply
               briefs must be filed no later than fourteen (14) days after the opposition briefs
               are filed.

        II.    ORDER RELATING TO TRIAL

        1. This action must be ready for trial by no later than February 12, 2024.

        2. The Court will issue a separate order setting a final trial date and establishing
           pretrial compliance deadlines following the Case Status Hearing.


        Failure to comply with any part of this order may result in the imposition of sanctions.




                                                SHIRLEY PADMORE MENSAH
                                                UNITED STATES MAGISTRATE JUDGE

Dated this 14th day of December, 2022.
Case: 4:22-cv-00394-SPM Doc. #: 40 Filed: 12/14/22 Page: 4 of 4 PageID #: 284
